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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO.: 0:20-CV-61872-AHS

   ALAN DERSHOWITZ,

          Plaintiff,

   v.

   CABLE NEWS NETWORK, INC.,

         Defendant.
   ______________________________/

        ORDER ON CNN’S UNOPPOSED MOTION FOR LEAVE TO EXTEND PAGE
                    LIMITATION FOR MOTIONS IN LIMINE

          THIS CAUSE came before the Court on CNN Unopposed Motion for Leave to Extend

   Page Limitation for Motions in Limine (“Motion”). The Court, having considered the Motion, the

   agreement of the parties’ and being otherwise duly advised in the premises, it is hereupon

          ORDERED and ADJUDGED that the Motion is GRANTED. CNN may file its Motions

   in Limine, and it shall not exceed 25 pages in length.

          DONE and ORDERED in Chambers at Fort Lauderdale, Florida, on this _____ day of

   November, 2022.


                                                 ________________________________________
                                                 HONORABLE RAAG SINGHAL
                                                 United States District Judge


   Copies Furnished to: All Counsel of Record via CM/ECF
